               IN THE DISTRICT COURT OF THE UNITED STATES
              FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                           ASHEVILLE DIVISION
                                1:12 CR 20-1
                                1:12 CR 20-3
                                1:12 CR 20-4
                                1:12CR 20-5
                                1:12 CR 20-6


UNITED STATES OF AMERICA,                  )
                                           )
Vs.                                        )          ORDER
                                           )
1) AVERY TED “BUCK” CASHION, III           )
3) RAYMOND M. CHAPMAN                      )
4) THOMAS E. DURHAM, JR.                   )
5) KEITH ARTHUR VINSON                     )
6) GEORGE M. GABLER,                       )
                                           )
        Defendants.                        )
                                           )
____________________________________       )


        THIS MATTER has come before the undersigned pursuant to a Motion to

Compel the Government to Comply with Electronically stored Information

Discovery Guidelines (#153) filed by Defendant Avery Ted “Buck” Cashion, III.

The defendants Chapman, Durham, Vinson and Gabler each moved to be allowed

to adopt the motion of the Defendant Cashion and those motions were allowed. A

hearing was conducted in regard to the motion on March 18, 2013. After hearing

arguments from counsel for Defendants and arguments from the government, the

undersigned was requested to allow a period of time to determine if the

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government and the defendants could agree to the method of disclosure of the

electronically stored information in this case. The hearing was then rescheduled

for completion on April 3, 2013.      In the motion, the Defendants request the

following:

      20.    Based upon these guidelines, Defendant Cashion asks the Court

             to require the government to:

             a.    Consult with defense counsel regarding the most efficient
                   means of transferring all discovery materials;
             b.    Render all of the discovery provided heretofore and
                   hereafter in a meaningfully “word-searchable” format;
             c.    Provide a table of contents with all discovery discs with
                   Bates Number page references; or
             d.    Provide a comprehensive index of the location of type of
                   discovery document produced to date; or
             e.    Return the discovery materials to the organizational or
                   filing system in which the government has rendered and
                   stored them. That is, the filing scheme which defense
                   counsel would encounter if counsel were inspecting
                   traditionally stored documents.

Doc. #153, ¶ 20, pg. 7

      After hearing arguments of the parties in this matter it appears that the

government has consulted with defense counsel regarding the most efficient means

of transferring all discovery materials. The government has further rendered all

discovery materials into a word-searchable format. The government has provided

a discovery log for the discovery which is equivalent to a table of contents. The

government has provided a source spreadsheet for the discovery which is
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comparable to a comprehensive index for the discovery. The government has also

provided the discovery in an order in which the discovery was received by the

government which is the equivalent of a filing scheme which defense counsel

would encounter if counsel was inspecting traditionally stored documents. It thus

appears to the undersigned that the government has complied with the motion filed

by Defendants in regard to the discovery in this case and the government, through

Assistant United States Attorney Michael Savage, has advised the Court that the

government will continue to do so in regard to any further discovery presented in

this matter by the government to Defendants. Based upon the foregoing, the

undersigned has determined to enter the following Order.

                                      ORDER

      IT IS, THEREFORE, ORDERED that the Motion to Compel the

Government to Comply with Electronically Stored Information Discovery

Guidelines (#153) is hereby ALLOWED. The Court finds that the government

has complied with all requests as set forth in paragraph 20 of the Defendant’s

motion and the undersigned will further ORDER that the government shall

continue to comply with those specific requests as set forth in paragraph 20 of the

motion. The undersigned enters this Order without prejudice to the Defendants

filing further motions should questions in regard to discovery in this matter arise.


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                                     Signed: April 12, 2013




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